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     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-1249V
                                          UNPUBLISHED


    BECKY BENVENUTI,                                            Chief Special Master Corcoran

                         Petitioner,                            Filed: January 19, 2023
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Influenza
    HUMAN SERVICES,                                             (Flu) Vaccine; Shoulder Injury
                                                                Related to Vaccine Administration
                         Respondent.                            (SIRVA)


Nancy Routh Meyers, Turning Point Litigation, Greensboro, NC, for Petitioner.

Alexa Roggenkamp, U.S. Department of Justice, Washington, DC, for Respondent.


                                DECISION ON JOINT STIPULATION1

        On August 21, 2019, Becky Benvenuti filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (SIRVA) resulting from the influenza (flu) vaccination she received on
November 19, 2018. Petition at 1; Stipulation, filed at January 17, 2023, ¶¶ 1-2. Petitioner
further alleges that the vaccination was administered within the United States, Petitioner’s
injuries have persisted for more than six months, and neither she, nor any other party,
has ever filed any action or received compensation in the form of an award for her
vaccine-related injury. Petition at 1, 3-4; Stipulation at ¶¶ 3-5. “Respondent denies that
[P]etitioner sustained a SIRVA Table injury; denies that the vaccine caused [P]etitioner’s
alleged left shoulder injury, and denies that her current condition is a sequela of a vaccine-
related injury.” Stipulation at ¶ 6.


1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       Nevertheless, on January 17, 2023, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $37,500.00 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the Clerk of Court is directed to
enter judgment in accordance with this decision.3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.

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                 IN THE UNITED SfATES COURT OF FEDERAL CLAIMS
                           OFFICE OF SPECIAL MASTERS


 BECKY BENVENUTI,

                 Petitioner,                            No. 19-1249V
                                                        Chief Special Master Corcoran
 V.                                                     ECF

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                 Respondent.


                                          STIPULATION

        The parties hereby stipulate to the following matters:

        J. Becky Benvenuti ("petitioner'') filed a petition for vaccine compensation under the

National Vaccine Injury Compensation Program, 42 U.S.C. §§ 300aa-10 to -34 (the "Vaccine

Program"). The petition seeks compensation for injuries allegedly related to petitioner's receipt

of an influenza ("flu") vaccine, which is a vaccine contained in the Vaccine Injury Table (the

"Table"), 42 C.F.R. § l 00.3 (a).

       2. Petitioncrrcceived the flu vaccine on November 19, 2018.

       3. The vaccination was administered within the United States.

       4. Petitioner alleges that she sustained a left shoulder injury related to vaccination

administration ("SIRVA") within the time period set forth in the Table following administration

of the flu vaccine, or in the alternative, that her alleged shoulder injury was caused by the flu

vaccine. She further alleges that she experienced the residual effects ofthis alleged injury for

more than six months.
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        5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages on her behalf as a result of her alleged injury or condition.

        6. Respondent denies that petitioner sustained a SIRVA Table injury; denies that the

vaccine caused petitioner's alleged left shoulder injury or any other injury, and denies that her

current condition is a sequela of a vaccine-related injury.

       7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shaJl be settled and that a decision should be entered awarding the

compensation described in paragraph 8 ofthis Stipulation.

       8. As soon as practicable after an entry ofjudgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-21 (a)(l ), the Secretary ofHealth and Human Services will issue

the following vaccine compensation payment:

       A lump sum of $37,500.00 in the form ofa check payable to petitioner. This
       amount represents compensation for all damages that would be available under 42
       U.S.C. § 300aa-1S(a).

       9. As soon as practicable after the entry ofjudgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to

42 U.S.C. § 300aa-21 (a)(l), and an application, the parties will submit to further proceedings

before the special master to award reasonable attorneys' fees and costs incurred in proceeding

upon this petition.

       10. Petitioner and her attorney represent that compensation to be provided pursuant to

this Stipulation is not for any items or services for which the Program is not primarily liable

under42 U.S.C. § 300aa-15(g), to the extent that payment has been made or can reasonably be

expected to be made under any State compensation programs, insurance policies, Federal or


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State health benefits programs (other than Title XIX of the Social Security Act (42 U.S.C.

§ 1396 et seq.)), or by entities that provide health services on a pre-paid basis.

        11 . Payment made pursuant to paragraph 8 ofthis Stipulation and any amounts awarded

pursuant to paragraph 9 ofthis Stipulation will be made in accordance with 42 U.S.C. § 300aa-

l 5(i), subject to the availability of sufficient statutory funds.

        12. The parties and their attorneys further agree and stipulate that, except for any award

for attorneys' fees and litigation cost.i;, and pastunreimbursed expenses, the money provided

pursuant to this Stipulation will be used solely for the benefit of petitioner as contemplated by a

strict construction of42 U.S.C. § 300aa-15(a) and (d), and subject to the conditions of 42 U.S.C.

§ 300aa-1 S(g) and (h).

       13. In return for the payments described in paragraphs 8 and 9, petitioner, in her

individual capacity, and on behalf of her heirs, executors, administrators, successors or assigns,

docs forever irrevocably and unconditionally release, acquit and discharge the United States and

the Secretary of Health and Human Services from any and all actions or causes of action

{including agreements, judgments, claims, damages, loss of services, expenses and all demands

of whatever kind or nature) that have been brought, could have been brought, or could be timely

brought in the Court of Federal Claims, under the National Vaccine Injury Compensation

Program, 42 U.S.C. § 300aa-10 et seq., on accowitof, orin any way growing out of, any and all

known or unknown, suspected or unsuspected personal injuries to or death of petitioner resulting

from, or alleged to have resulted from, the flu vaccination administered on November 19, 2018,

as alleged by petitioner in a petition for vaccine compensation filed on or about August 21, 2019,

in the United States Court of Federal Claims as petition No. l 9-1249V.




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        14. If petitioner should die prior to entry ofjudgment, this agreement sha11 be voidable

upon proper notice to the Court on behalfofeither or both of the parties.

        15. If the special master fails to issue a decision in complete conformity with the terms

of this Stipulation or if the Court of Federal Claims fails to enter judgment in confonnity with a

decision that is in complete conformity with the tenns of this Stipulation, then the parties'

settlement and this Stipulation shall be voidable at the sole discretion of either party.

        16. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

       17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the flu vaccine caused petitioner's alleged SIRVA

injury or any other injury or her current condition, or that petitioner suffered an injury contained

in the Vaccine Injury Table.

       18. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.

                                     END OF STIPULATION

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Respectfully submitted,

PETITIONER:



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BECBVENTI

ATTORNEYOFRECORD                                              AUTHORIZED REPRESENTATIVE
FOR PETITIONER:                                               OF THE ATTORNEY GENERAL:


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AUTHORIZED REPRESENTATIVE                                     ATTORNEY OF RECORD FOR
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AND HUMAN SERVICES:
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